
187 P.3d 230 (2008)
220 Or. App. 451
In the Matter of C.D., Alleged to be a Mentally Ill Person.
STATE of Oregon, Respondent,
v.
C.D., Appellant.
A133393; 06MH210.
Court of Appeals of Oregon.
Submitted May 2, 2008.
Decided June 11, 2008.
James A. Palmer, Eugene, filed the brief for appellant.
Hardy Myers, Attorney General, Mary H. Williams, Solicitor General, and Christina M. Hutchins, Senior Assistant Attorney General, filed the brief for respondent.
Before HASELTON, Presiding Judge, and ARMSTRONG, Judge, and ROSENBLUM, Judge.
PER CURIAM.
Appellant in this mental commitment case appeals a judgment committing her to the Mental Health Division for treatment for a period of time not to exceed 180 days. ORS 426.130. The trial court found that appellant suffers from a mental disorder and is unable to provide for her basic personal needs. The state concedes that the record lacks clear and convincing evidence that defendant's mental disorder causes her to be unable to provide for her basic personal needs. On de novo review, we find the state's concession to be well-founded and accept it.
Reversed.
